               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   Case No. 20-CV-954-WO-JLW


FARHAD AZIMA,

        Plaintiff,
                                             MEMORANDUM OF LAW IN
        v.                                       OPPOSITION TO
                                             DEFENDANTS’ MOTION FOR
NICHOLAS DEL ROSSO and VITAL                   PROTECTIVE ORDER
MANAGEMENT SERVICES, INC.,

        Defendants.


                              INTRODUCTION

       For more than a year, Plaintiff has attempted to depose Defendant Del

Rosso. Mr. Del Rosso’s motion for protective order is his fourth motion to delay

completion of that deposition (and the second motion to rely on medical

grounds) since Plaintiff filed this case in October 2020. While Plaintiff

recognizes Mr. Del Rosso’s serious medical diagnosis that was made more than

a year ago, Mr. Del Rosso has not presented sufficient evidence warranting

delaying the completion of his deposition.

       Defendant Del Rosso suggests that he has suffered a relapse of his cancer

and    will   begin   additional   treatment    at   some    point,   but   not

imminently. Defendants seek to use this change in Mr. Del Rosso’s condition

to indefinitely delay his deposition, currently noticed for December 7. But his




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relapse is reason to expedite the deposition, not delay it. Mr. Del Rosso is not

undergoing treatment now. He may receive radiation treatment starting on

December 11, followed by chemotherapy in January that will continue for at

least 13 weeks. Discovery in this matter closes in March 2024, and trial is

currently set for September 2024.          A delay in completing Defendants’

depositions threatens to jeopardize that timetable and further delay resolution

of this matter, which Plaintiff brought more than three years ago.

                              BACKGROUND

      Mr. Del Rosso’s deposition is scheduled for tomorrow, December 7.

Plaintiff first noticed Mr. Del Rosso’s deposition a year ago. Since then, Mr.

Del Rosso has filed four motions seeking to prevent or delay his deposition,

including two on medical grounds. See ECF Nos. 97, 142, and 306. When Mr.

Del Rosso did sit for a deposition, he improperly refused to answer questions

without proper justification, causing the Court to order that he be re-deposed.

See ECF No. 248 at 20-22.       That deposition is scheduled for tomorrow,

December 7.

      Shortly after Plaintiff first noticed Mr. Del Rosso’s deposition in

December 2022, Mr. Del Rosso filed a motion for a protective order, seeking to

delay his deposition by 60 days due to side effects from his chemotherapy

treatment. See ECF No. 97. Defendants supported their motion with a letter

from Mr. Del Rosso’s treating physician, Samuel Rubinstein.          The Court


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granted a temporary stay of Mr. Del Rosso’s deposition, but only for 30 days.

ECF No. 114 at 4. The Court admonished that “[f]urther delays of Del Rosso’s

deposition due to his medical condition should include a detailed status update

of his condition supported by specific medical evidence.” Id.

      In accordance with the Court’s Order, Plaintiff scheduled Mr. Del Rosso’s

deposition for February 13-14, 2023. Plaintiff also agreed to Mr. Del Rosso’s

request to split the deposition up across two days.          A week before the

deposition, however, on February 3, 2023, Mr. Del Rosso filed another motion

for a protective order, this time seeking to limit the scope of the deposition. See

ECF No. 142. The motion was not fully briefed, and the Court did not rule on

it, before the deposition.

      Mr. Del Rosso attended the deposition but refused to answer substantive

questions on a number of topics. ECF No. 189. At the deposition, Mr. Del

Rosso testified that he was on numerous medications for his cancer, including

oxycodone, which he took during the deposition. And yet he was able to testify.

      Plaintiff subsequently filed a motion to compel further deposition

testimony from Mr. Del Rosso to require him to complete his deposition and

answer questions substantively. On July 25, 2023, Judge Webster granted

Plaintiff’s motion to compel Mr. Del Rosso’s deposition testimony and denied

Mr. Del Rosso’s motion for protective order. ECF No. 248 at 20-22. The Court

found “Defendants’ arguments for limiting the scope of the depositions to be


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unpersuasive,” id. at 20, and ordered Mr. Del Rosso to complete his deposition

within 30 days.

        Despite this Order, Mr. Del Rosso filed a motion on August 8, 2023,

seeking again to prevent completion of his deposition. See ECF No. 256. The

Court held a hearing on September 29, 2023, at which it denied all outstanding

motions without prejudice and encouraged the parties to work toward

resolution of any discovery disputes. The Court set a trial date for September

23, 2024 and ordered fact discovery completed by March 29, 2024. See Sept.

29, 2023 Minute Entry; see also ECF No. 305.

        Defendants have attempted to delay Mr. Del Rosso’s deposition

numerous times since the Court’s September 29, 2023 hearing. On October 20,

2023, Plaintiff noticed Mr. Del Rosso’s deposition for December 1, 2023. Mr.

Del Rosso objected to that date on November 9, 2023 but provided no

alternative dates. Accordingly, on November 15, 2023, Plaintiff re-noticed Mr.

Del Rosso’s deposition for December 7. Defendants’ counsel did not oppose that

date.

        On November 28, 2023, Mr. Del Rosso’s counsel emailed Plaintiff’s

counsel1 that Mr. Del Rosso was unavailable to sit for his deposition on


        1 Defendants’
                    counsel also emailed Alice Richey, the Special Master
candidate for this matter on whom the parties have tentatively agreed, to
inform her of the matter. The parties are currently negotiating a consent
motion regarding Ms. Richey’s appointment as a Special Master to address

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December 7 because they had “just learned that Mr. Del Rosso must

immediately undergo additional treatment for his cancer.” See ECF No 307-3

at 2. Defendants’ counsel provided no “medical evidence” of Mr. Del Rosso’s

condition at that time. See also ECF No. 114 at 4 (requiring such evidence for

further continuations). Out of an abundance of caution, Plaintiff noticed an

emergency deposition for Monday, December 4 to secure Mr. Del Rosso’s

testimony for trial under Rule 32(a)(4)(C). Plaintiff’s counsel stated they were

willing to meet and confer with Defendants regarding the date but would not

withdraw the notice until there was full transparency regarding Mr. Del

Rosso’s condition.

      On December 1 at 2:46 pm, Defendants’ counsel submitted a letter to

Plaintiff’s counsel from Mr. Del Rosso’s doctor stating that Mr. Del Rosso had

notified him at a clinical visit on November 13 of relapsed pain associated with

his cancer. See ECF No. 309-1. The letter suggests that Mr. Del Rosso has

been taking oxycodone as a pain medication since that time. Id. According to

the letter from Mr. Del Rosso’s doctor, Mr. Del Rosso is scheduled to undergo

radiation treatment from December 11 to 15, 2023. Id. Mr. Del Rosso will then

meet with his doctor on December 19 to discuss changing his treatment

starting in early January in such a way that he will likely be in treatment at


certain discovery disputes and hope to file that with the Court in the short
term.

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some point during most weeks well into April 2024, which is after the fact

discovery cutoff. Id. In addition, the letter stated that available treatment

options offered only a limited chance of controlling his disease for at least a

year. Id. at 3.

      Faced       with   numerous   contradictions   in   Defendants’   counsel’s

representations,2 Plaintiff’s counsel sought additional information from

Defendants, which Defendants refused to provide. See ECF No. 307-4. Having

received no response – and given Dr. Rubinstein’s statements that Mr. Del

Rosso was not scheduled for radiation until December 11 – Plaintiff’s counsel

informed Defendants that the deposition would proceed on December 7 as

noticed. See ECF No. 307-5. Defendants filed their motion for protective order

on December 4. See ECF No. 306.

                              LEGAL STANDARD

      As this Court has previously ruled, “[p]rotective orders pursuant to Rule

26(c) should be ‘sparingly used and cautiously granted.’” ECF No. 248 at 4

(quoting Medlin v. Andrew, 113 F.R.D. 650, 652 (M.D.N.C. 1987). Indeed,

“[n]ot only are protective orders prohibiting depositions rarely granted, but



      2 For example, Defendants’ counsel had said that Mr. Del Rosso had to

undergo treatment “immediately” but the letter said that radiation treatment
would not begin until December 11. Defendants’ counsel also said that they
had just learned of the diagnosis on November 28, but the letter stated that
Mr. Del Rosso learned of the issues on either November 13 or November 17.

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[the moving party] has a heavy burden of demonstrating the good cause for

such an order.” Medlin, 113 F.R.D. at 653.

      When considering a motion for protective order to bar a deposition based

on alleged health concerns, the Court “may not abdicate its responsibility by

unquestionably accepting a doctor’s summary opinions.” Id. A physician must

do more than simply assert that a deposition cannot go forward; instead, “[i]n

seeking to prevent or delay a deposition by reason of medical grounds, the

moving party has the burden of making a specific and documented factual

showing that the deposition would be dangerous to the deponent’s health.” Id.;

see also Motsinger v. Flynt, 119 F.R.D. 373, 378 (M.D.N.C. 1988) (holding that

a “request for extended stay of a deposition requires more than a conclusory

statement by a physician”); Union First Mkt. Bank v. Bly, No. 13-cv-598, 2014

WL 66834, at *5 (E.D. Va. Jan. 6, 2014) (denying motion for protective order

because the party only “support[ed] his argument with the submission of three

short exhibits consisting of an affidavit and two opinion letters from his

primary care doctor”); Cobra Int’l, Inc. v. BCNY Int’l, Inc., No. 05-cv-61225,

2006 WL 8411610, at *3 (S.D. Fla. Oct. 2, 2006) (“While establishing that [the

potential deponent] is indeed ill, the letter only generally describes [the

deponent’s] condition and fails to state whether his health would be

jeopardized by submitting to a deposition.”).




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         When considering previous motions for protective orders by Mr. Del

Rosso on medical grounds, Judge Webster has held that “[f]urther delays of Del

Rosso’s deposition due to his medical condition should include a detailed status

update of his condition supported by specific medical evidence.” ECF No. 114

at 4.

                                  ARGUMENT

I.       Mr. Del Rosso Has Not Shown Good Cause to Further Delay His
         Deposition.
         Mr. Del Rosso does not argue that a deposition would somehow be

harmful to his health. Rather, he claims that the pain caused by his cancer

relapse, and the alleged temporary diminished capacity caused by his

treatment, justify a delay. But Mr. Del Rosso was also on pain medication at

his deposition in February, and it did not prevent him from answering the

questions he chose to answer. See ECF No. 99-1 at 1 (prior letter from Mr. Del

Rosso’s doctor, making the same diminished capacity arguments related to

narcotic pain medications).3




         3 Plaintiff also notes that claims of memory impairment present a high

bar for those seeking to avoid a deposition. See, e.g., Hardy v. UPS Ground
Freight, Inc., No. 17-cv-30162, 2019 WL 13144825, at *4 (D. Mass. Oct. 7, 2019)
(“Except in extreme cases, courts generally have rejected the contention that a
deponent’s unreliable memory resulting from an impairment is a basis on
which to prohibit a deposition.”).

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      While Plaintiff is sympathetic to Mr. Del Rosso’s need to manage any

pain caused by his condition, that is, at best, an argument for making

accommodations during his deposition, as Plaintiff did at his February 2023

deposition and as Plaintiff offered to do in connection with Mr. Del Rosso’s

upcoming deposition. See ECF No. 307-4. It is not a justification to further

delay or cancel his deposition outright. Neither Mr. Del Rosso’s counsel nor

his doctor even attempt to address why such accommodations are not possible,

despite Plaintiff’s offer of accommodation. See S.E.C. v. Children’s Internet,

Inc., No. 06-cv-6003, 2008 WL 346419, at *3 (N.D. Cal. Feb. 7, 2008) (holding

deponent had to sit for a deposition despite “a serious medical condition”

because the declaration from the deponent’s doctor was “conclusory and fail[ed]

to address whether a deposition with special accommodations would be

possible”); Bucher v. Richardson Hosp. Auth., 160 F.R.D. 88, 94 (N.D. Tex.

1994) (ordering safeguards on the deposition, including holding the deposition

at the plaintiff’s treatment facility). Mr. Del Rosso’s submission therefore falls

well below the required “specific and documented factual showing that the

deposition would be dangerous to the deponent’s health.” Medlin v, 113 F.R.D.

at 653.




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II.     Plaintiff Will Suffer Significant Prejudice if Mr. Del Rosso’s
        Deposition is Further Delayed.
        Plaintiff has already suffered significant prejudice as a result of Mr. Del

Rosso’s repeated delays of his deposition. Three years into this litigation,

Plaintiff has not yet been able to complete the lead defendant’s deposition

testimony in this case. This has impeded Plaintiff’s ability to collect important

evidence to support his claims and rebut Defendants’ counterclaims, and to

follow new evidentiary leads that result from taking a party’s deposition.

        By Defendants’ own admission, Mr. Del Rosso’s condition is terminal,

and his cancer relapse is aggressive. ECF No. 309-1 at 2-3. The need to depose

Mr. Del Rosso immediately is buttressed by the fact that his doctor does not

know when Mr. Del Rosso’s impairments are likely to clear up once treatment

begins. Id. at 2. Defendants argue Mr. Del Rosso should not have to be deposed

until January 3, 2024, ECF No. 307 at 9, but that is exactly when he expects

to start chemotherapy. ECF No. 309-1 at 2 (explaining Mr. Del Rosso will

“start[] chemotherapy after the impending holidays in early January”). In

other words, if Mr. Del Rosso’s deposition is delayed, he may not be available

during the remaining discovery period or conceivably at any point during this

case.

        Plaintiff must be permitted to proceed with Mr. Del Rosso’s deposition

now. At a minimum, his deposition may be necessary to preserve Mr. Del




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Rosso’s testimony for trial given the aggressive state of his cancer. Id. at 3. But

even if Mr. Del Rosso’s condition is not terminal, Plaintiff will suffer additional

prejudice from Mr. Del Rosso’s repeated delays of his deposition as time passes,

memories fade, and discovery deadlines and trial dates approach.

                                CONCLUSION

      Defendants’ motion for protective order should be denied, and the

deposition should proceed as scheduled on December 7, 2023, commencing at

10:00 a.m.

      This, the 6th day of December, 2023.

                                   WOMBLE BOND DICKINSON (US) LLP

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                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This memorandum contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.



                                         /s/ Ripley Rand
                                         Ripley Rand
                                         Counsel for Plaintiff




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               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   Case No. 20-CV-954-WO-JLW


FARHAD AZIMA,

       Plaintiff,
                                             CERTIFICATE OF SERVICE
       v.

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.


      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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 This, the 6th day of December, 2023.

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